






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00397-CR






Aaron Lambert Sloan, Jr., Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF CALDWELL COUNTY, 274TH JUDICIAL DISTRICT


NO. 2003-127, HONORABLE TODD A. BLOMERTH, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Aaron Lambert Sloan, Jr., seeks to appeal from a judgment of conviction for failing
to assist at an accident.  The trial court has certified, and the record confirms, that Sloan waived the
right of appeal.  See Tex. R. App. P. 25.2(a)(2); Monreal v. State, 99 S.W.3d 615, 622 (Tex. Crim.
App. 2003).  The appeal is dismissed.  See Tex. R. App. P. 25.2(d).



				__________________________________________

				Bob Pemberton, Justice

Before Justices Kidd, B. A. Smith and Pemberton

Dismissed for Want of Jurisdiction

Filed:   July 29, 2004

Do Not Publish


